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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA

 

TALLAHASSEE DIVISION

UNITED STATES OF AMERICA SEALED

SUPERSEDING
Vv. INDICTMENT

4:18CR76-RH
SCOTT CHARLES MADDOX
JANICE PAIGE CARTER-SMITH

and
JOHN THOMAS BURNETTE
/
THE GRAND JURY CHARGES:
COUNT ONE

Racketeering Conspiracy
18 U.S.C. § 1962(d)

I. Introduction

Unless stated otherwise, at all times relevant to this Indictment:

1. Governance, Incorporated (“Governance”) was a government
consulting and lobbying S-corporation based in Tallahassee, Florida. Governance
was incorporated in the State of Florida on or about May 14, 1999, by defendant
SCOTT CHARLES MADDOX (“MADDOX”). On or about March 12, 2010,
MADDOX sold Governance to defendant JANICE PAIGE CARTER-SMITH
(“CARTER-SMITH”). In or about April 2010, CARTER-SMITH replaced

MADDOX as Governance’s president and registered agent.

 

 
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2. Governance Services LLC (“Gov. Services”) was a government
consulting and lobbying limited liability company based in Tallahassee, Florida.
Gov. Services was registered with the State of Florida on or about November 21,
2007, listing CARTER-SMITH as the sole managing member and registered
agent.

3, Although Governance and Gov. Services were two separate legal
entities, MADDOX and CARTER-SMITH operated them and presented them to
the public and their clients as a single entity that they and their clients commonly
referred to as simply “Governance.” MADDOX and CARTER-SMITH treated
Governance and Gov. Services’ finances as their own by, among other things,
causing payments from the companies’ bank accounts to be made directly to their
personal bank accounts and moving money to, from, and between the companies’
bank accounts to pay for personal, campaign-related, and business expenses.

Il. The Defendants
A. Defendant MADDOX

4, In or about 1993, MADDOX was elected as one of five Tallahassee
City Commissioners. In or about 1997, MADDOX was elected as the Mayor of
Tallahassee, and served in that position until in or about 2003. MADDOX was a
government consultant and lobbyist beginning no later than in or about 1999, when

he created Governance. Between in or about 2003 and in or about November
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2012, MADDOX worked as a lobbyist and ran unsuccessfully for several political
offices in Florida.

5. In 2012, MADDOX once again ran for and won a seat on the
Tallahassee City Commission. Prior to the election, MADDOX consulted with the
then-City Attorney about clearing any conflicts of interest relating to MADDOX’s
lobbying business. MADDOX stated that he had sold Governance and was in the
process of divesting himself of the business. In fact, MADDOX continued to
control and profit from Governance and Gov. Services throughout the subsequent
six years while he was a City Commissioner.

6. After being elected City Commissioner, MADDOX spoke with the
then-City Attorney about MADDOX’s conflicts of interest. MADDOX falsely
told the City Attorney that he had potential conflicts with several “former” clients.
In fact, MADDOX had continuing conflicts of interest with Governance and Gov.
Services’ clients, many of whom did business with or were regulated in some
manner by the City of Tallahassee, and some of whom had business that was voted
upon by the City Commission. MADDOX concealed these conflicts of interest
from the City Attorney, City Staff, City Commission, and the public.

7. On or about September 17, 2014, MADDOX was interviewed under
oath by an investigator for the Florida Commission on Ethics. During this

interview, MADDOX falsely stated under oath that, “when I decided to qualify for
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office for the City Commission in 2012, I, I did no, you know, didn’t receive any
compensation whatsoever from Governance from then until now.” When asked by
the investigator whether he had “any relationship or, or, or have anything to do
with [Gov. Services],” MADDOX replied, “I’ve never had ownership whatsoever
of [Gov. Services].” In fact, between in or about November 2012 and the date of
that interview, MADDOX was, on an ongoing basis, serving as the point of
contact at Governance and Gov. Services for multiple clients and receiving
financial benefits from Governance and Gov. Services in the forms of, among
other things, direct payments and expenses charged to a credit card in MADDOX’s
name.

8. In or about April 2015, while still serving as a Commissioner,
MADDOX declared his candidacy for the Leon County, Florida, Superintendent of
Schools, and opened a bank account for his campaign. In or about June 2016,
MADDOX announced his withdrawal from the Superintendent’s race and
announced his candidacy for reelection to the City Commission. MADDOX was
reelected to another four-year term as Commissioner in November 2016.
MADDOXxX served continuously as a Commissioner from November 2012 until at
least December 2018.

9, On or about November 30, 2016, MADDOX was deposed in a

lawsuit involving his residency and eligibility to serve as a Commissioner. After
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taking an oath to tell the truth, MADDOX was asked whether he or his law firm
had any business relationship with Gov. Services. MADDOX replied, “I’m not
sure whether we represented them on anything, I don’t know.” MADDOX was
further asked whether he, his family, or his business had any relationship with
Governance. MADDOX replied, “I don’t know what relationship that would be.”
As MADDOX well knew, at that time, he continued to obtain financial benefits
from both companies and he served as the point of contact for multiple clients as
part of retainer agreements with the companies.

10. Asa Tallahassee City Commissioner, MADDOX was an agent of the
City of Tallahassee, and he had a fiduciary duty to act in the best interests of
Tallahassee and its citizens.

11. The Community Redevelopment Agency (“CRA”) was a joint City of
Tallahassee and Leon County entity that was established by the Tallahassee City
Commission in 1998, The CRA was comprised of a Board of Directors, whose
members included all five Tallahassee City Commissioners, including MADDOX.
From time to time, the Board of Directors held public meetings and voted on
whether to fund redevelopment projects using City and County funds.

12. Asamember of the CRA Board of Directors, MADDOX was an
agent of the CRA, and he had a fiduciary duty to act in the best interests of

Tallahassee and its citizens.

 

 
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B. Defendant CARTER-SMITH

13. CARTER-SMITH worked with MADDOX at Governance
beginning no later than in or about 2003. CARTER-SMITH had previously been
MADDOX’ chief of staff when he was the Mayor of Tallahassee. As stated
above, CARTER-SMITH formed Gov. Services in or about 2007. In 2010,
CARTER-SMITH became the owner and registered agent of Governance. From
that point forward, she managed Governance and Gov. Service’s operations,
finances, and client relations with MADDOX and at his direction.

14. During CARTER-SMITH’s July 9, 2014, sworn interview with a
Florida Commission on Ethics investigator, she was asked whether MADDOX had
“any interest at all in [Governance] from 2010 on?” CARTER-SMITH falsely
replied, “He, he had some involvement with some of the clients but once he filed to
run for office, he was not involved at all.” CARTER-SMITH further stated,
falsely, that MADDOX was not involved in Gov. Services.

C. Defendant JOHN THOMAS BURNETTE

15. JOHN THOMAS BURNETTE (““BURNETTE”) was a
businessman in the City of Tallahassee and was an associate of MADDOX and
CARTER-SMITH. BURNETTE engaged in real estate transactions with
MADDOX and assisted Governance with handling a new client that sought to

develop projects in the City of Tallahassee.
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16. BURNETTE assisted Company F representatives in their attempts to
secure MADDOX’s support in the form of official acts. When MADDOX
demanded payment from Company F to Governance, MADDOX instructed
representatives of Company F to have BURNETTE involved in Company F’s
developments. At MADDOX’s instruction, BURNETTE facilitated the flow of
communication between Company F and MADDOX as it pertained to Company
F’s payments to Governance. BURNETTE instructed representatives of Company
F that he was to be the point of contact between them and MADDOX, and
BURNETTE would determine with MADDOX how MADDOX wanted to
receive the money into Governance.

17. After the Company F representatives began paying money to
Governance and Gov. Services, BURNETTE told the representatives that they
could not stop paying MADDOX, agreeing that stopping payments to MADDOX
would “p--- him off more and will vote against” them. BURNETTE further told
Company F representatives that MADDOX “is a vengeful motherf-----. Feed a dog
for a year, stop feeding that dog, and it gets hungry, he may bite your f------ hand
off.”

Ill. The Enterprise

18. Governance and Gov. Services, together with MADDOX,

 
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CARTER-SMITH, BURNETTE, and others known and unknown, constituted an
enterprise as defined in Title 18, United States Code, Section 1961(4), that is, a
group of entities and individuals associated in fact, hereafter referred to as the
“Enterprise.”

19. The Enterprise constituted an ongoing organization whose
members functioned as a continuing unit for a common purpose of achieving the
objectives of the Enterprise. The Enterprise was engaged in, and its activities
affected, interstate commerce. MADDOX and CARTER-SMITH controlled and
operated the Enterprise. MADDOX was the leader of the Enterprise, and directed
other members and associates of the Enterprise in carrying out the unlawful
activities and other activities in furtherance of the Enterprise’s affairs. Under the
direction of MADDOX, defendant CARTER-SMITH was a member of the
Enterprise and also directed associates of the Enterprise in carrying out the
unlawful activities and other activities in furtherance of the Enterprise’s affairs.
BURNETTE associated with the Enterprise and participated in the operation of its
affairs, including convincing individuals to make bribery payments to the
Enterprise for projects needing approval in the City of Tallahassee.

IV. Purposes of the Enterprise
20. The purposes of the Enterprise included the following, among

others:

 
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a. Enriching the members and associates of the Enterprise
through, among other things, bribery, extortion, bank fraud,
wire fraud, and mail fraud. More specifically, a purpose of the Enterprise
was to expand and preserve Governance and Gov. Services’ client base and
increase the companies’ revenue.

b. Advancing the Enterprise’s crimes through deception by
concealing and protecting the activities of the Enterprise from
detection by law enforcement, the public, the City, and others.

c. Promoting and enhancing the Enterprise and its members’ and
associates’ activities.

V. The Racketeering Conspiracy

21. Between in or about February 2010 and on or about the date of this

Indictment, in the Northern District of Florida and elsewhere, the defendants,

SCOTT CHARLES MADDOX,
JANICE PAIGE CARTER-SMITH,
and
JOHN THOMAS BURNETTE,

being persons employed by and associated with the Enterprise, which engaged in,

and the activities of which affected, interstate commerce, knowingly and

intentionally conspired to violate Title 18, United States Code, Section 1962(c),

that is, to conduct and participate, directly and indirectly, in the conduct of the

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affairs of the Enterprise through a pattern of racketeering activity, as defined in
Title 18, United States Code, Sections 1961(1) and 1961(5). The pattern of
racketeering activity through which the defendants agreed to conduct the affairs of
the Enterprise consisted of multiple acts that are indictable under the following

federal statutes:

a. Title 18, United States Code, Section 1344(2) (Financial

Institution Fraud)

b. Title 18, United States Code, Section 1951 (Interference with

Commerce by Extortion)

c. Title 18, United States Code, Sections 1343, 1346 (Honest

Services Wire Fraud)

d. Title 18, United States Code, Sections 1341, 1346 (Honest

Services Mail Fraud)

and multiple acts involving bribery that are chargeable under Florida State Statute

838.015.

22. It was further part of the conspiracy that each defendant agreed that a
conspirator would commit at least two acts of racketeering activity in the conduct

of the affairs of the Enterprise.

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VI. Manner and Means

23. The defendants and their associates agreed to conduct the affairs of
the Enterprise through the following manner and means, among others:

24. The defendants made false statements, misrepresentations, and
concealed material information from a financial institution and others in order to
obtain economic benefits.

25. The defendants sent and caused to be sent numerous interstate wire
communications and mailings.

26. The defendants made false statements, misrepresentations, and
concealed material information regarding MADDOX’s affiliation with, control,
and management of Governance and Gov. Services.

27. The defendants used MADDOX’s official position as a City
Commissioner to extort money and solicit bribes from companies with business
interests in Tallahassee. The defendants demanded, sought, and received the
money and bribes with the intent that MADDOX would be influenced in the
performance of official acts, as opportunities arose.

28. MADDOX used his position as City Commissioner to take official
action favorable to Governance and Gov. Services clients, including pressuring and

advising City officials and voting on measures before the City Commission.

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A. The Short Sales
29. Unless stated otherwise, at all times relevant to the short sales
described below:

a. Branch Banking & Trust Company (“BB&T”) was a financial
institution, as that term is defined in Title 18, United States Code, Section
20. BB&T’s deposits were federally insured by the Federal Deposit
Insurance Corporation.

b. BB&T was also a mortgage lending business, as that term is
defined in Title 18, United States Code, Section 27, meaning that BB&T
financed or refinanced debt secured by an interest in real estate, and its
activities affected interstate commerce.

c. SCM Investments, LLC, (“SCM”) was a limited liability
company registered with the State of Florida in Tallahassee, Florida.
MADDOX formed SCM on or about May 6, 2005.

d. Maddox Acquisitions, LLC, (“MAL”) was a limited liability
company registered with the State of Florida in Tallahassee, Florida, with
Governance as the only member. MADDOX formed MAL on or about
March 9, 2007. CARTER-SMITH became the owner of MAL when

MADDOX transferred Governance to her in March 2010.

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e. Short sale transactions were a means by which financially
distressed owners of real estate could sell the real estate to a third party
buyer at a price below the amount owed on the outstanding mortgage loan.
Short sales had to be approved by the mortgage lender. Before accepting a
short sale, BB&T required the seller to affirm that the transaction was being
made at “arms-length,” to ensure that the buyer and seller did not have an
undisclosed business relationship and that the sale price received reflected
the fair market value of the property. BB&T also required sellers to disclose
financial information so that BB&T could accurately assess the seller’s
ability to make mortgage payments or contribute to the short sale price and
to determine whether BB&T could collect from the seller any assets in the
event of a judgment.

30. Onor about June 24, 2008, CARTER-SMITH, signing as the
managing member of Gov. Services, executed a promissory note (the “Condo
Loan”) for condominium units in the Adams Street Lofts in Tallahassee, Florida.
The Condo Loan promised that CARTER-SMITH would pay MADDOX,
another individual, and Spectrum Resources, a company owned by MADDOX,

$475,000 with 5.5% interest, with full payment due on June 1, 2014.

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i. The 208 West Carolina Avenue Property

31. Atall relevant times, 208 West Carolina Avenue, Tallahassee,
Florida, (“208 W. Carolina”) was a two-story office building located in
Tallahassee.

32. Onor about October 28, 2005, SCM purchased 208 W. Carolina using
a commercial loan of $855,000 from BB&T.

33. Onor about October 20, 2010, SCM defaulted on its loan with BB&T
for 208 W. Carolina.

34. On or about February 7, 2011, MADDOX submitted to BB&T a letter
stating that “in spite of [MADDOX’s] best efforts, [208 W. Carolina] has been
essentially empty since 2009,” and that “there have not been any offers at all in this
poor economic climate.”

35. Onor about February 7, 2011, in an attachment to the above-
described letter to BB&T, MADDOX further proposed that the bank accept a short
sale of 208 W. Carolina to Gov. Services for the amount of $375,000—nearly
$500,000 less than the amount for which MADDOX purchased the property
through SCM—and included as an attachment to his letter a proposed contract of
sale between Gov. Services and SCM. CARTER-SMITH signed the contract on

behalf of Gov. Services and MADDOX signed the contract on behalf of SCM. At

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this time, the outstanding balance on MADDOX’s loan was approximately
$744,503.

36. Meanwhile, MADDOX told a Governance client that he needed
money to fund a short sale) MADDOX obtained from the client a $120,000 check
payable to Governance, which was deposited into Gov. Services’ bank account on
or about August 5, 2011. MADDOX also obtained two checks totaling $95,000
from his family members and caused these checks to be deposited into Gov.
Services’ bank account to be used by CARTER-SMITH as part of the purchase
price in the short sale transaction. Without these checks and the $120,000 deposit,
Gov. Services would not have had sufficient funds to purchase 208 W. Carolina.

37. MADDOX submitted a false “Arms-Length Affidavit” to BB&T on
or about August 22, 2011. The affidavit falsely stated that the “sale is an arms-
length transaction between Buyer and Seller, and said Buyer, including its
principals, directors, and officers, is not an agent, representative, owner, or
employee of Seller.”

38. Onor about August 22, 2011, MADDOX submitted a Full and Final
Settlement Agreement to BB&T, signed by MADDOX, falsely stating that the
buyer was an “unrelated party” to SCM.

39. Based on the information MADDOX submitted, BB&T agreed to the

short sale of 208 W. Carolina to Gov. Services for approximately $465,000 from
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Gov. Services and a promissory note of approximately $150,000 from SCM to
BB&T. BB&T forgave approximately $129,503 of SCM’s debt in the transaction,
not including the promissory note. MADDOX paid only approximately $30,000
on the SCM promissory note before defaulting.

ii. The 510 North Adams St. Property

40. 510 North Adams Street, Tallahassee, Florida (“510 N. Adams”) was
a house located in downtown Tallahassee that was, at times, used in part as an
office building.

41. Onor about March 15, 2007, MAL purchased 510 N. Adams for
$550,000, using a commercial loan of $495,000 from BB&T. To secure this
mortgage loan through MAL, Governance and MADDOX, personally, guaranteed
the loan.

42. Onor about March 15, 2007, in order to secure the 510 N. Adams
loan from BB&T, MADDOX submitted to BB&T a Declaration of Limited
Liability Company or Limited Liability Partnership and Authority to Borrow. This
document, which MADDOX signed as the president of Governance, stated that
MADDOX would “promptly notify [BB&T] if any other person, or legal entity
acquires an ownership interest in [MAL].” MADDOX never notified BB&T that,
in or about March 2010, he sold Governance, which wholly owned MAL, to

CARTER-SMITH.
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43. Onor about March 15, 2012, MAL and MADDOX defaulted on the
BB&T loan for 510 N. Adams.

44,  Inor about March 2012, MADDOX informed BB&T that he wished
to engage in a short sale for the 510 N. Adams property. MADDOX stated that he
had an offer from a buyer, Gov. Services, for $225,000—over $250,000 less than
the amount for which MADDOX purchased the property—and MADDOX would
supplement this offer with $75,000 cash. BB&T preliminarily accepted the sale
price and negotiated a cash supplement from MADDOX of $100,000, subject to
the submission of the below-described documents and their accompanying
affirmations. BB&T forgave approximately $133,448, the remaining amount of
debt on the mortgage loan, by accepting the short sale.

45. Onor about August 28, 2012, in support of his request to BB&T for a
short sale of 510 N. Adams, MADDOX submitted a Personal Financial Statement
to BB&T that claimed that he had no significant assets beyond 510 N. Adams and
his personal residence. In doing so, MADDOX concealed from BB&T, among
other assets, (1) $34,000 in his personal bank account, (2) real property in Madison
County, Florida, (3) the balance and interest due to him from the Condo Loan as an

asset, and (4) approximately eight vehicles that MADDOX owned.

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46. Inor about December 2012, MADDOX submitted to BB&T
documents falsely stating that he was the “president” of Governance at the time of
the sale.

47. Onor about December 14, 2012, MADDOX submitted to BB&T an
Arms-Length Affidavit, which he signed on or about December 14, 2012. The
affidavit falsely stated that the “sale is an arms-length transaction between Buyer
and Seller.” The affidavit further falsely stated that, “said Buyer, including its
principals, directors, and officers, is not an agent, representative, owner, or
employee of Seller.”

48. Onor about December 14, 2012, MADDOX submitted to BB&T a
“Full and Final Settlement Agreement” falsely stating that “Borrower currently
ownfed] the Property and desire[d] to sell it, but ha[d] been unable, despite
Borrower’s best efforts, to enter into a contract to sell [510 N. Adams] for a price
sufficient to generate net sale proceeds to fully pay the remaining indebtedness due
on the loan.”

49, This Full and Final Settlement Agreement also falsely stated that the
buyer, Gov. Services, was an “unrelated party” to MAL.

50. Onor about December 13, 2012, in order to satisfy his obligation to
pay $100,000 to BB&T under the terms of the short sale, MADDOX caused

$100,000 to be wired from Gov. Services’ bank account into MADDOX’s
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personal bank account. To conceal that he had received the money from Gov.
Services, MADDOX then purchased a cashier’s check in the amount of $100,000
payable to Governance and deposited the cashier’s check into the Governance bank
account. MADDOX < then purchased a $100,000 cashier’s check payable from the
Governance bank account to the closing agent for the short sale.
B. The Clients
i. Company A
51.  Atall relevant times, Company A was an architectural engineering
firm that did, or sought to do, business in the Tallahassee area, including with the
City of Tallahassee and Leon County. Company A was on, or sought to be on, a
City Commission-approved bidders list for City contracts. Once a company was
voted onto the approved bidders list, City officials had the discretion to hire the
company for City-funded projects, and to negotiate with the company on issues
that arose relating to such projects. Engineering firms such as Company A that did
business in and with the City of Tallahassee were also subject to various permitting
and licensing approvals that were left to the discretion of City officials.
52. In or about 2007, Company A hired Governance as its government
consultant, and began paying Governance a monthly retainer fee for MADDOX’s
consulting and lobbying services. Company A stopped making these payments in

May 2011.
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53. In or about May 2012, during a meeting with Company A executives,
MADDO%xX stated that he would make sure that an individual who had supported
MADDOX’s opponent in a previous political campaign, and who owned an
architectural engineering firm that was Company A’s competitor, would never
again do business in the City of Tallahassee. At the time, MADDOX was running
for City Commissioner. MADDOX made this statement with the intent to place
Company A in fear of economic harm to induce Company A to pay MADDOX.

54. During the meeting, a Company A employee asked MADDOX how
Company A could help with MADDOX’s political campaign. MADDOX replied
that Company A could catch up on its payments to Governance.

55. Thereafter, beginning on or about May 10, 2012, based on their fear
of economic harm, Company A paid Governance a monthly retainer fee ranging
from approximately $2,000 to $5,000. Once MADDOX was elected in November
2012, Company A continued to pay Governance a monthly retainer fee until on or
about October 27, 2015, when Company A stopped paying Governance. Between
on or about May 10, 2012, and on or about October 27, 2015, MADDOX held
himself out to Company A as Company A’s government consultant and lobbyist.

56. After MADDOX was elected to the City Commission, and during the
course of Company A’s payments to MADDOX, he did not disclose to the City

Attorney or the City Commission that he represented Company A. Nor did
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MADDOX disclose to the City Attorney or the City Commission that Company A
was paying Governance and/or Gov. Services, and that MADDOX was receiving
payments from both entities.

57. Onor about November 26, 2013, the City Commission voted on
whether to authorize City officials to negotiate and execute with a list of ten firms,
including Company A, contract extensions for water resources engineering.
MADDOX voted in favor.

58. Onor about August 19, 2015, the City Commission voted on whether
to authorize City officials to negotiate and execute with a list of ten firms,
including Company A, contract extensions for water resources engineering.
MADDOX voted in favor.

59. From time to time, Company A would miss its monthly payments to
Gov. Services, and MADDOX would contact a representative of Company A and
state, “show me some love,” which meant that Company A should catch up on
monthly payments. However, during this time, MADDOX did not provide to
Company A any services in the form of lobbying, consulting, or otherwise, besides
introducing Company A to the owner of Company E, which was also paying Gov.
Services a monthly retainer fee at the time.

60. Between in or about May 2012 and on or about October 27, 2015,

Company A paid Governance and Gov. Services approximately $61,500.
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ii. Company B

61. Atall relevant times, Company B was a rideshare company that
operated across the United States.

62. In 2015, the City Commission was considering making amendments
to a local ordinance that would affect Company B’s ability to profitably operate in
Tallahassee, and the amendments were set to be voted upon by the Commissioners.

63. Onor about March 2, 2015, Person A, who was a government
relations professional employed by Company B, met with MADDOX to discuss
the rideshare ordinance. MADDOX was non-committal and stated that he was
being lobbied by Company B’s opponent on the ordinance, namely, the taxi
industry. MADDOX further stated that CARTER-SMITH could help Company
B obtain a favorable result on the ordinance.

64. Thereafter, with MADDOX’s knowledge and at MADDOX’s
direction CARTER-SMITH met with Person A, and solicited payments from
Company B, in exchange for MADDOX’s vote on the ordinance and related
issues,

65. Onor about March 25, 2015, CARTER-SMITH procured Company
B’s agreement to pay Governance a $5,000 monthly retainer for her “consulting”

services.

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66. After securing Company B’s agreement to pay Governance,
CARTER-SMITH served as a go-between for communications between
Company B representatives and MADDOX.

67. Onor about March 25, 2015, the City Commission met to vote on
whether to delay passage of an amended ordinance that would have made it
difficult for Company B to operate profitably in Tallahassee. A related issue
discussed at the meeting was whether the pre-existing ordinance would be enforced
against Company B’s drivers. Such enforcement would have potentially subjected
Company B’s drivers to criminal and/or civil liability.

68. Shortly before the meeting, CARTER-SMITH sent Person A a text
message stating, in part, “Comm Maddox will make the motion [to delay a vote on
the ordinance].” MADDOX then moved to delay the vote and the Commissioners
voted unanimously for the delay. On the dais, MADDOX stated that he had a long
history of supporting the taxi cab industry and that the existing ordinance should be
enforced. Shortly after the meeting, CARTER-SMITH sent Person A three
consecutive text messages stating, “A message,” “Don’t worry about |
enforcement,” and “We’ll discuss.”

69. On July 8, 2015, the City Commission again met to discuss
amendments to the rideshare ordinance. Prior to the meeting, CARTER-SMITH

texted Company B representatives, stating, “Maddox is going to be at the
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important part of the meeting :-).... I did not want you to panic when you did not
see him there.” During this meeting, CARTER-SMITH told Company B
representatives by text message that she was passing their messages on to
MADDOX, and asked questions to Company B representatives that purportedly
came from MADDOX. For instance, CARTER-SMITH texted a Company B
representative asking whether they were “ok with removing insurance
requirement.” After receiving an affirmative response, CARTER-SMITH replied,
“Ok. He said up to u.”

70. Atthis July 8 meeting, MADDOX took several votes to make
amendments to the ordinance and a final vote to adopt the new ordinance as
amended. All of the requests that Company B made to CARTER-SMITH and
MADDOX were incorporated into the resulting ordinance.

71. Between on or about May 7, 2015, and on or about October 15, 2015,
Company B paid Governance $30,000. During the same time period, Governance
and Gov. Services made approximately $40,000 in payments to MADDOX
directly.

iii. Company C

72. Atall relevant times, Company C was a waste services provider. On

or about March 20, 2006, Company C entered into a contract with Governance by

which Governance would serve as Company C’s “Marketing and Planning
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Consultant.” Company C’s agreement with Governance permitted Company C to
call upon MADDOX and CARTER-SMITH for their assistance in working with
City officials and government officials in Florida on an as-needed basis. In
exchange, Company C paid Governance a $4,000 monthly retainer. On or about
September 8, 2006, the City of Tallahassee entered into a seven-year contract with
Company C for waste management services.

73.  Inor about June 2012, the City Commission voted to extend Company
C’s contract for five years such that the contract would be up for renewal and
would require another City Commission vote in September 2018.

74. Beginning no later than in or about November 2012, Person B was a
regional vice president at Company C serving the Tallahassee area.

75. After MADDOX was elected to the City Commission, and during the
course of Company C’s payments to Governance, he did not disclose to the City
Attorney or the City Commission that he managed the operations and finances of
Governance and Gov. Services. In fact, MADDOX falsely characterized
Company C to the City Attorney as a “former” client. Nor did MADDOX disclose
to the City Attorney or the City Commission that Company C was paying
Governance and/or Gov. Services, and that MADDOX was receiving payments
from both entities. After being elected to the City Commission, MADDOX,

implicitly and explicitly, continued to solicit and accept payments from Company
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C in exchange for MADDOX’s agreement to engage in official acts to benefit
Company C as opportunities arose.

76. In or about December 2013, MADDOX proposed a new contract
between Gov. Services and Company C which was entered into in or about January
2014. This contract increased Company C’s monthly retainer fee to Gov. Services
to $4,500, and listed Gov. Services as Company C’s “marketing and government
consultant in Tallahassee, Florida.”

77. In or about July 2014, Tallahassee fined Company C approximately
$64,000 for failing to deliver trash receptacles for City residents. Person B made
multiple unsuccessful attempts to appeal directly to City employees to reduce the
fine. Person B then called MADDOX, and asked MADDOX to intercede with the
City employees to get the fine reduced. MADDOX indicated to Person B that he
would resolve the issue. MADDOX spoke with the City Manager, and the fine
was ultimately reduced to approximately $7,000.

78. Before and after the fine was reduced, CARTER-SMITH e-mailed
three written updates to Company C stating that Governance was working on and
succeeded in reducing the fine.

79. Between in or about November 2012 and in or about April 2017,

Company C paid Governance and Gov. Services approximately $190,000.

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iv. Company D

80.  Atall relevant times Company D was a construction company
operating primarily in and nearby the City of Tallahassee.

81. Beginning in or about 2005, Company D’s owner, Person C,
negotiated a contract with MADDOX for Governance to be Company D’s
lobbyist. In or about 2005, Company D began paying Governance a monthly
retainer fee of $6,500. In or about 2010, Company D reduced the monthly
payments to Governance to $2,500.

82. When MADDOX was elected to the City Commission in November
2012, Company D continued to make these payments to Governance. MADDOX,
implicitly and explicitly, continued to solicit and accept these payments from
Company D in exchange for MADDOX’s agreement to engage in official acts to
benefit Company D as opportunities arose.

83. On or about January 22, 2014, MADDOX voted against amendments
to a City administrative policy that MADDOX knew posed economic challenges to
Company D. Prior to the vote, MADDOX sent a text message to Company D’s
owner asking whether he had any suggested changes for the policy. Before casting
his vote and while on the dais, MADDOX questioned the policy’s

constitutionality.

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84. On or about November 24, 2015, the City Commission voted on
whether to approve three-year contract extensions with nine firms, including
Company D, which had been prequalified to perform sidewalk construction and
rehabilitation services. MADDOX made the initial motion for approval and voted
affirmatively to approve.

85. In or about December 2015, Company D was in a dispute with City
officials concerning a Company D construction project contracted by the City.
After failing to resolve the dispute in direct communications with City officials,
Company D representatives met with MADDOX to request that MADDOX
intervene to resolve the dispute in a manner favorable to Company D. MADDOX
agreed to do so.

86. Onor about December 14, 2016, MADDOX voted to approve an
extension of a City Contract with Company D. That evening, after the vote, Person
C sent MADDOX a text message stating, “You do good work.” Minutes later,
MADDOX replied, “I love it when a plan comes together!”

87. In considering and voting on these matters, MADDOX failed to
disclose to the City Attorney and City Commission that Gov. Services was being
paid by Company D, that MADDOX had an ongoing financial interest in Gov.

Services, or that MADDOX had an ongoing retainer agreement with Company D.

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88. Between in or about November 2012 and in or about October 2017,

Company D paid Governance and Gov. Services approximately $146,000.
v. Company E

89.  Atall relevant times, Company E was a residential development
company. Person D was an owner of Company E.

90. In or about 2003, Company E began paying Governance a monthly
$2,500 retainer for lobbying work in and around Tallahassee. In or about 2007,
Company E increased its monthly payments to $7,000.

91. In or about November 2012, shortly before or after being elected to
the City Commission, MADDOX told Person D that Company E’s monthly
payments should be sent to Gov. Services rather than Governance. After he was
elected, MADDOX, implicitly and explicitly, continued to solicit and accept
payments from Company E in exchange for MADDOX’s agreement to engage in
official acts to benefit Company E as opportunities arose.

92. Inor about March 2017, Person D met with MADDOX and
CARTER-SMITH. During the meeting, Person D stated that he would soon be
needing additional assistance from MADDOX in Company E’s dealings with City
officials. MADDOX and Person D agreed that Company E would make a one-
time payment to Gov. Services of $10,000 followed by six monthly payments of

$5,000.
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93. Shortly thereafter, Person D contacted MADDOX about the City’s
refusal to approve a certain type of fencing in one of Company E’s residential
developments. Person D asked MADDOX to intervene with the City officials so
that the staff would change its decision on the fence. MADDOX agreed to do this.
MADDOX then contacted the City Manager.

94. Several days later, a City official e-mailed Person D to inform him
that the City had changed its position on the fence. On March 13, 2016, Person D
forwarded this e-mail to MADDOX. MADDOX replied, by e-mail, “I love it
when a plan comes together.”

95.  Inor about January 2017, Company E was facing an issue concerning
the City of Tallahassee Utilities Department’s work at one of Company E’s
apartment complexes. On or about January 25, 2017, Person D sent MADDOX a
text message regarding the issue. Less than two hours later, MADDOX
responded, by text message, “All good. I can handle city guy no prob. Already
had a word at the top. Should be straightened out.”

96. Between in or about November 2012 and in or about March 2017,

Company E and its affiliates paid Gov. Services approximately $138,000.

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vi. Person E

97. In or about January and February 2014, the CRA was considering
granting funds in the form of tax incentives for a development project in
Tallahassee.

98. Person E was a local developer and one of the applicants for the
funding.

99. Person F was a local business owner and associate of MADDOX.

100. In or about February 2014, Person F, at MADDOX’s direction, told
Person E that Person E should pay Governance and/or a Governance employee as a
consultant in exchange for MADDOX’s vote on the project. Person F indicated to
Person E that this was a message coming from MADDOX.

101. Person E refused to pay Governance or hire any of its employees as a
consultant or otherwise.

102. On or about February 27, 2014, the CRA voted to fund the project for
approximately $1.6 million. MADDOX did not attend the CRA meeting in which
the project was funded.

vii. Company F

103. Between in or about July 2016 and on or about May 24, 2017,

Company F served as a front for undercover Federal Bureau of Investigation

agents who were investigating allegations of criminal activity in Tallahassee. The
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agents posed as representatives of Company F who were real estate and medical
marijuana entrepreneurs. Among the projects Company F was pursuing were real
estate developments in the Tallahassee area. Each project required or would
benefit from the Tallahassee City Commission taking official action, such as
rezoning property or annexing certain property into the City’s limits. The CRA
could also provide grant funding for the projects.

104. At all relevant times, BURNETTE was a local real estate developer
and entrepreneur.

105. On or about July 21, 2016, BURNETTE spoke to a Company F
representative about a potential real estate deal in the Tallahassee area and
identified MADDOX as the most powerful member of the CRA.

106. On or about September 21, 2016, BURNETTE met with Company F
representatives. During this meeting, BURNETTE agreed to assist the Company
F representatives in obtaining approval for a potential real estate development
project in Tallahassee. BURNETTE stated that his only role in the project would
be to “deliver the politics” and for that, he would receive 20% of the deal.
BURNETTE stated that he would “take care of Scott,” and confirmed that he
would do so from his 20%. BURNETTE said that MADDOX would be able to
support the project by committing official acts such as convincing other

Commissioners to support the project. BURNETTE stated that MADDOX
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“effectively gets paid through the lobbying firm.” BURNETTE stated that the
amount that Company F would need to pay MADDOX through the lobbying firm
would increase based on the political difficulty of authorizing the project.
BURNETTE gave the example that Company F may need to pay MADDOX’s
lobbying firm $10,000 per month for as long as three years if the value of the
benefit to be obtained by Company F from a Tallahassee-area governmental
agency was $3 million. A Company F representative stated that in his experience,
politicians often start with altruistic viewpoints and then realize that many people
surrounding them, including developers, have a lot of money and start asking
““where’s my piece of the pie?” BURNETTE responded: “Let me just tell you
this: Scott MADDOX is that guy. What I mean is, he wants his piece of the pie.”

107. On or about October 1, 2016, a Company F representative met with
MADDOX. Another individual present stated that the Company F representative
was seeking to do several real estate deals in Tallahassee. The Company F
representative then told MADDOX that BURNETTE recommended that he meet
MADDOX. MADDOX responded, “[BURNETTE] is my guy.”

108. On or about October 4, 2016, a Company F representative met with
MADDOX in Tallahassee. During the conversation, the representative asked, “So
can we hire you as, like, a consultant? Like you have a business, right?”

MADDOX replied, “Not me. I can tell you somebody that you can hire. But not
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me.” The representative asked if he could pay MADDOX’s law firm to consult on
the project. MADDOX replied, “You wouldn’t want to do that. You wanna pay
the consulting firm that I told you, so that I would not be conflicted out... You’d
wanna hire Governance Incorporated.” The representative then asked,
“[BURNETTE] will tell me that, right?” MADDOX replied, “[BURNETTE]
will tell you who it is.” Later on in the conversation, the representative asked,
“What would I need to pay you, uh, not you, but your, what would I need to put in
the coffers a month to start the ball rolling?” MADDOX replied, “Twenty.” The
representative asked, “Twenty a month?” MADDOxX< replied, “Yeah.” The
representative said to MADDOX, “That’s a lot of money.” MADDOX replied,
“No it’s not.”

109. On or about October 19, 2016, BURNETTE and a Company F
representative agreed that Company F would pay MADDOX $10,000 per month,
and that BURNETTE would follow up with further logistics as to how to make the
payments.

110. On or about October 24, 2016, BURNETTE confirmed that the
payments should be made to Governance and that such payments were “definitely
for MADDOX ..., there’s nobody else in Governance other than Paige, which is
MADDOX, effectively.” BURNETTE stated that MADDOX wanted “to keep

his conversations narrowed to one person.” BURNETTE further advised with
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regard to getting payments to MADDOX, “Governance is the answer,” and that
BURNETTE would have a discussion with MADDOX about how MADDOX
wished to “receive those funds . . . into Governance.”

111. On or about October 29, 2016, BURNETTE told a Company F
representative that MADDOX wanted to deal only with BURNETTE, because
MADDOX did not “want any more friends” and did not want to have
“inappropriate conversations” with anyone but BURNETTE.

112. On or about October 29, 2016, MADDOX met with a Company F
representative and confirmed that Company F’s $10,000 payment should be made
to Governance; in exchange, MADDOX, implicitly and explicitly, agreed to
perform official acts to benefit Company F. MADDOX further advised that
CARTER-SMITH was on board with how and why these payments were being
made to Governance and that MADDOX had no secrets from CARTER-SMITH.
MADDOX reiterated that if BURNETTE was involved, MADDOX was on
board.

113. On or about November 16, 2016, Company F mailed a check via U.S.
Postal Service for $10,000 to Governance, and on or about January 23, 2017,
Company F mailed a check via U.S. Postal Service to Gov. Services for $10,000.

114. On or about December 16, 2016, CARTER-SMITH sent Company F

a “Consulting Agreement.” The agreement stipulated that Gov. Services would
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provide “marketing” and “government consulting services” to Company F for
$10,000 per month for twelve months.

115. On or about December 18, 2016, and on or about February 22, 2017,
Company F sent checks for $10,000 each to Gov. Services via the United Parcel
Service.

116. In or about December 2016, MADDOX and BURNETTE traveled to
Las Vegas, Nevada, with Company F representatives. MADDOX accepted a
flight to Las Vegas on a chartered jet from Company F. MADDOX also accepted
a hotel room and meal expenses paid by Company F representatives. During this
trip, MADDOX told an anecdote about threatening to destroy a former client’s
business deals if the former client did not pay MADDOX his fee. The client then
called BURNETTE to discuss, and BURNETTE advised MADDOX that the
client would be paying.

117. On or about January 10, 2017, BURNETTE told a representative of
Company F not to stop sending checks to MADDOX, as MADDOX can kill deals.
BURNETTE further stated that “MADDOX has got to be a mafia, if you think he
isn’t, shame on you.” BURNETTE confirmed that the Company F representative
“opened the door and now can’t close it, as MADDOX will f--- you out of spite.”

BURNETTE opined “out of spite, absolutely and that it will be served cold.”

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BURNETTE also told the Company F representatives that “if you want to burn
your house down fine, but I won’t let my house burn down with yours.”

118. Following the issuance of Federal Grand Jury subpoenas to the City of
Tallahassee in or about May 2017, MADDOX and CARTER-SMITH caused to
be purchased cell phones, which were not registered to a specific person, to be
used for communications between MADDOX, CARTER-SMITH, and others,
including a City of Tallahassee staff member.

119. On or about May 24, 2017, MADDOX, CARTER-SMITH,
and BURNETTE were interviewed by federal law enforcement agents about their
interactions and business relationships with Company F and its representatives.
MADDOX falsely stated to the agents that Company F representatives had not
attempted to pay him any money, that MADDOX was not involved in Company
F’s introduction to CARTER-SMITH, and that MADDOX had no relationship
with Governance. CARTER-SMITH falsely stated that she was the only person
associated with Governance. BURNETTE falsely stated that he didn’t know: who
the Company F representatives wrote checks to; the name of the firm that
CARTER-SMITH had; who Company F had retained; the content of
conversations that Company F representatives had with MADDOX; and that
Company F representatives had paid MADDOX.

All in violation of Title 18, United States Code, Section 1962(d).
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COUNT TWO
Bank Fraud — 208 W. Carolina
18 U.S.C. §§ 1344(2) and 2
I. Introduction
1. Paragraphs 1 through 14, 24, 26, and 29 through 30 of Count One are
realleged and incorporated by reference as if fully set forth herein.
II. The Charge
2. Between on or about February 7, 2011, and on or about August 22,
2011, in the Northern District of Florida, and elsewhere, the defendants,
SCOTT CHARLES MADDOX
JANICE PAIGE CARTER-SMITH,
did knowingly execute and attempt to execute a scheme to obtain money, funds,
credits, assets, and other property owned by, and under the custody and control of,
BB&T, by means of materially false and fraudulent pretenses, representations, and
promises.
III. The Fraudulent Scheme
3. The fraudulent scheme is summarized in paragraphs 24 and 31

through 39 of Count One, which are realleged and incorporated by reference as if

fully set forth herein.

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IV. Execution of the Scheme
4, On or about August 22, 2011, for the purpose of executing and
attempting to execute this fraudulent scheme, MADDOX and CARTER-SMITH,
did knowingly submit and cause to be submitted false documents, including a Full
and Final Settlement Agreement and an Arm’s Length Affidavit, to BB&T to
obtain, in support of, and in the closing of, the short sale of 208 W. Carolina.
In violation of Title 18, United States Code, Sections 1344(2) and 2.
COUNT THREE
Bank Fraud — 510 N. Adams
18 U.S.C. §§ 1344(2) and 2
I. Introduction
1. Paragraphs 1| through 14, 24, 26, and 29 through 30 of Count One are
realleged and incorporated by reference as if fully set forth herein.
II. The Charge
2. Between in or about March 2012 and on or about December 14, 2012,
in the Northern District of Florida, and elsewhere, the defendants,
SCOTT CHARLES MADDOX
JANICE PAIGE CARTER-SMITH,

did knowingly execute and attempt to execute a scheme to obtain money, funds,

credits, assets, and other property owned by, and under the custody and control of,

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BB&T, by means of materially false and fraudulent pretenses, representations, and
promises.
IIL. The Fraudulent Scheme
3. The fraudulent scheme is summarized in paragraphs 24 and 40
through 50 of Count One, which are realleged and incorporated by reference as if
fully set forth herein.
IV. Execution of the Scheme
4, Between in or about August 2012 and on or about December 14,
2012, for the purpose of executing and attempting to execute this fraudulent
scheme, the defendants, MADDOX and CARTER-SMITH, did knowingly
submit and cause to be submitted to BB&T false documents, including a Personal
Financial Statement, a Full and Final Settlement Agreement, an Arms-Length
Affidavit, a Joinder and Consent, and an Affidavit of Company Status to obtain, in
support of, and in the closing of, the short sale of 510 N. Adams.
In violation of Title 18, United States Code, Sections 1344(2) and 2.
COUNT FOUR
False Statements to a Financial Institution — 208 W. Carolina
18 U.S.C. § 1014

1, Paragraphs 1 through 14, 24, 26, and 29 through 39 of Count One are

realleged and incorporated by reference as if fully set forth herein.

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2. On or about August 22, 2011, in the Northern District of Florida and
elsewhere, the defendant,
SCOTT CHARLES MADDOX,
did knowingly make a false statement and report for the purpose of influencing the
action of BB&T, upon an application, purchase, and loan; namely, the defendant
knowingly submitted a Full and Final Settlement Agreement falsely stating that
Gov. Services was an “unrelated party” to SCM when, in fact, the parties were
related in that MADDOX controlled both entities and had in fact himself obtained
a large portion of the money paid by Gov. Services for the short sale.
In violation of Title 18, United States Code, Section 1014.
COUNT FIVE
False Statements to a Financial Institution — 510 N. Adams
18 U.S.C. § 1014
1. Paragraphs 1 through 14, 24, 26, 29 through 30, and 40 through 50 of
Count One are realleged and incorporated by reference as if fully set forth herein.
2. On or about December 14, 2012, in the Northern District of Florida
and elsewhere, the defendant,
SCOTT CHARLES MADDOX,
did knowingly make a false statement and report for the purpose of influencing the

action of BB&T, upon an application, purchase, and loan; namely, the defendant

knowingly submitted a Full and Final Settlement Agreement falsely stating that he
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was the president of Governance when in fact, as MADDOX well knew,
CARTER-SMITH was the president of Governance.
In violation of Title 18, United States Code, Section 1014.
COUNT SIX
False Statements to a Financial Institution — 510 N. Adams
18 U.S.C. § 1014
1. Paragraphs | through 14, 24, 26, 29 through 30, and 40 through 50 of
Count One are realleged and incorporated by reference as if fully set forth herein.
2. On or about December 14, 2012, in the Northern District of Florida
and elsewhere, the defendant,
SCOTT CHARLES MADDOX,
did knowingly make a false statement and report for the purpose of influencing the
action of BB&T, upon an application, purchase, or loan; namely, the defendant
knowingly submitted a Joinder and Consent, in which MADDOX falsely
represented that he was the president of Governance, when in fact CARTER-
SMITH was the president of Governance.
In violation of Title 18, United States Code, Section 1014.
COUNT SEVEN
False Statements to a Financial Institution — 510 N. Adams
18 U.S.C. § 1014

1, Paragraphs | through 14, 24, 26, 29 through 30, and 40 through 50 of

Count One are realleged and incorporated by reference as if fully set forth herein.
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2. On or about December 14, 2012, in the Northern District of Florida

and elsewhere, the defendant,
SCOTT CHARLES MADDOX,

did knowingly make a false statement and report for the purpose of influencing the
action of BB&T, upon an application, purchase, or loan; namely, the defendant
knowingly submitted a Full and Final Settlement Agreement falsely stating that he
currently owned 510 N. Adams, when in fact MADDOX had no legal ownership
of that property at the time.

In violation of Title 18, United States Code, Section 1014.

COUNT EIGHT
Extortion Using Fear of Economic Harm — Company A
18 U.S.C. §§ 1951 and 2

1. Paragraphs 1| through 14, 23 through 28, and 51 through 60 of Count
One are realleged and incorporated by reference as if fully set forth herein.

2. Between in or about May 2012 and on or about October 27, 2015, in
the Northern District of Florida, and elsewhere, the defendants,

SCOTT CHARLES MADDOX
and
JANICE PAIGE CARTER-SMITH,

did knowingly obstruct, delay, and affect commerce and the movement of articles

and commodities in commerce, and did attempt to obstruct, delay, and affect

commerce and the movement of articles and commodities in commerce by
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extortion, as those terms are defined in Title 18, United States Code, Section 1951;
that is, the defendants obtained the property of Company A with Company A’s
consent induced by the wrongful use of fear of economic loss.

In violation of Title 18, United States Code, Sections 1951 and 2.

COUNT NINE
Extortion Under Color of Official Right - Company B
18 U.S.C. §§ 1951 and 2

1. Paragraphs 1 through 14, 23 through 28, and 61 through 71 of Count
One are realleged and incorporated by reference as if fully set forth herein.

2. Between on or about March 2, 2015, and in or about October 2015, in
the Northern District of Florida, and elsewhere, the defendants,

SCOTT CHARLES MADDOX
and
JANICE PAIGE CARTER-SMITH,

did knowingly obstruct, delay, and affect commerce and the movement of articles
and commodities in commerce, and did attempt to obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce, by
extortion, as those terms are defined in Title 18, United States Code, Section 1951;
that is, the defendants obtained property not due MADDOX < or his office as a City
Commissioner, from Company B, with Company B’s consent, under color of

official right.

In violation of Title 18, United States Code, Sections 1951 and 2.
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COUNT TEN
Extortion Under Color of Official Right - Company C
18 U.S.C. §§ 1951 and 2

1. Paragraphs 1 through 14, 23 through 28, and 72 through 79 of Count
One are realleged and incorporated by reference as if fully set forth herein.

2. Between in or about November 2012 and in or about April 2017, in
the Northern District of Florida, and elsewhere, the defendants,

SCOTT CHARLES MADDOX
JANICE PAIGE CARTER-SMITH,

did knowingly obstruct, delay, and affect commerce and the movement of articles
and commodities in commerce, and did attempt to obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce, by
extortion, as those terms are defined in Title 18, United States Code, Section 1951;
that is, the defendants obtained property not due MADDOX or his office as a City
Commissioner, from Company C, with Company C’s consent, under color of
official right.

In violation of Title 18, United States Code, Sections 1951 and 2.

COUNT ELEVEN
Extortion Under Color of Official Right - Company D
18 U.S.C. §§ 1951 and 2
1. Paragraphs | through 14, 23 through 28, and 80 through 88 of Count

One are realleged and incorporated by reference as if fully set forth herein.
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2. Between in or about November 2012 and in or about October 2017, in

the Northern District of Florida, and elsewhere, the defendants,
SCOTT CHARLES MADDOX
and
JANICE PAIGE CARTER-SMITH,

did knowingly obstruct, delay, and affect commerce and the movement of articles
and commodities in commerce, and did attempt to obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce, by
extortion, as those terms are defined in Title 18, United States Code, Section 1951;
that is, the defendants obtained property not due MADDOX or his office as a City
Commissioner, from Company D, with Company D’s consent, under color of
official right.

In violation of Title 18, United States Code, Sections 1951 and 2.

COUNT TWELVE
Extortion Under Color of Official Right - Company E
18 U.S.C. §§ 1951 and 2

1, Paragraphs | through 14, 23 through 28 and 89 through 96 of Count
One are realleged and incorporated by reference as if fully set forth herein.

2. Between in or about November 2012 and in or about October 2017, in
the Northern District of Florida, and elsewhere, the defendants,

SCOTT CHARLES MADDOX

and
JANICE PAIGE CARTER-SMITH,

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did knowingly obstruct, delay, and affect commerce and the movement of articles
and commodities in commerce, and did attempt to obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce, by
extortion, as those terms are defined in Title 18, United States Code, Section 1951;
that is, the defendants obtained property not due MADDOX or his office as a City
Commissioner, from Company E, with Company E’s consent, under color of
official right.

In violation of Title 18, United States Code, Sections 1951 and 2.

COUNT THIRTEEN
Extortion Under Color of Official Right— Person E
18 U.S.C. §§ 1951 and 2

1. Paragraphs 1| through 14, 23 through 28, and 97 through 102 of Count
One are realleged and incorporated by reference as if fully set forth herein.

2. In or about February 2014, in the Northern District of Florida, and
elsewhere, the defendant,

SCOTT CHARLES MADDOX,

did knowingly obstruct, delay, and affect commerce and the movement of articles
and commodities in commerce, and did attempt to obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce, by

extortion, as those terms are defined in Title 18, United States Code, Section 1951;

that is, MADDOX attempted to obtain property not due MADDOX or his office as
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a City Commissioner, from Person E and Person E’s client, with Person E’s
consent, under color of official right.

In violation of Title 18, United States Code, Sections 1951 and 2.

COUNT FOURTEEN
Extortion Under Color of Official Right - Company F
18 U.S.C. §§ 1951 and 2

1. Paragraphs 1 through 14, 23 through 28, and 103 through 119 of
Count One are realleged and incorporated by reference as if fully set forth herein.

2. Between in or about October 2016 and in or about March 2017, in the
Northern District of Florida, and elsewhere, the defendants,

SCOTT CHARLES MADDOX,
JANICE PAIGE CARTER-SMITH,
and
JOHN THOMAS BURNETTE,

did knowingly obstruct, delay, and affect commerce and the movement of articles
and commodities in commerce, and did attempt to obstruct, delay, and affect
commerce and the movement of articles and commodities in commerce, by
extortion, as those terms are defined in Title 18, United States Code, Section 1951;
that is, the defendants attempted to obtain and did obtain property not due
MADDOX or his office as a City Commissioner, from Company F, with the

consent of Company F’s representatives, under color of official right.

In violation of Title 18, United States Code, Sections 1951 and 2.

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COUNTS FIFTEEN THROUGH TWENTY-TWO
Honest Services Wire Fraud — Companies B, C, D, E, and F
18 U.S.C. §§ 1343, 1346, and 2
I. Introduction

1. Paragraphs 1 through 14 of Count One are realleged and incorporated

by reference as if fully set forth herein.
II. The Charge

2. Between in or about November 2012 and in or about October 2017, in

the Northern District of Florida, and elsewhere, the defendants,
SCOTT CHARLES MADDOX
and
JANICE PAIGE CARTER-SMITH,
did knowingly and willfully devise and intend to devise a scheme to defraud and
deprive the City of Tallahassee and its citizens of their right to the honest services
of MADDOX, a Tallahassee City Commissioner, through bribery.
III. The Fraudulent Scheme

3. The fraudulent scheme is summarized in paragraphs 23 through 28, 61
through 96, and 103 through 119 of Count One, which are realleged and
incorporated by reference as if fully set forth herein.

IV. Wire Communications

4, On or about the following dates, in the Northern District of Florida, and

elsewhere, the defendants,
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SCOTT CHARLES MADDOX

and

JANICE PAIGE CARTER-SMITH,

for the purpose of executing the fraudulent scheme, caused wire communications

to be transmitted in interstate commerce as set forth below.

 

COUNT

DATE

WIRE TRANSMISSION

 

FIFTEEN

January 14, 2014

E-mail from MADDOX to
CARTER-SMITH and
representatives of Company C

 

SIXTEEN

February 10, 2014

E-mail from MADDOX to
representative of Company C and
CARTER-SMITH

 

SEVENTEEN

December 19, 2014

E-mail from representative of
Company A to MADDOX re:
Company E

 

EIGHTEEN

February 26, 2015

E-mail from Person D to
CARTER-SMITH

 

NINETEEN

March 17, 2015

E-mail from CARTER-SMITH to
Person A

 

TWENTY

June 9, 2015

E-mail from Company B
representative to CARTER-
SMITH

 

TWENTY-ONE

March 13, 2017

E-mail from Person D to
MADDOX and CARTER-SMITH

 

TWENTY-TWO

 

 

May 22, 2017

 

E-mail from Person D to
CARTER-SMITH and MADDOX

 

In violation of Title 18, United States Code, Sections 1343, 1346, and 2.

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COUNTS TWENTY-THREE THROUGH TWENTY-SIX
Honest Services Mail Fraud — Company F
18 U.S.C. §§ 1341, 1346, and 2
I. Introduction
1. Paragraphs 1 through 17 of Count One are realleged and incorporated
by reference as if fully set forth herein.
II. The Charge
2. Between in or about July 2016 and in or about July 2017, in the
Northern District of Florida, and elsewhere, the defendants,
SCOTT CHARLES MADDOX,
JANICE PAIGE CARTER-SMITH,
JOHN THOMAS BURNETTE,
did knowingly and willfully devise and intend to devise a scheme to defraud and
deprive the City of Tallahassee and its citizens of their right to the honest services
of MADDOX, a Tallahassee City Commissioner, through bribery.
III. The Fraudulent Scheme
3. The fraudulent scheme is summarized in paragraphs 23 through

28, and 103 through 119 of Count One, which are realleged and incorporated

by reference as if fully set forth herein.

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IV. Mailings

4. On or about the following dates, in the Northern District of Florida,

and elsewhere, the defendants,

for the purpose of executing the fraudulent scheme and attempting to do so, caused

SCOTT CHARLES MADDOX,

and

JANICE PAIGE CARTER-SMITH,

JOHN THOMAS BURNETTE,

to be transmitted by United States mail and private and commercial carrier the

following matter:

 

COUNT

DATE

MAILING

 

TWENTY-THREE

November 16, 2016

$10,000 check sent through the
U.S. Postal Service.

 

 

 

 

 

 

TWENTY-FOUR December 18, 2016 $10,000 check sent through the
United Parcel Service.

TWENTY-FIVE January 23, 2017 $10,000 check sent through the
U.S. Postal Service.

TWENTY-SIX February 22, 2017 $10,000 check sent through the

United Parcel Service.

 

In violation of Title 18, United States Code, Sections 1341, 1346, and 2.

COUNTS TWENTY-SEVEN THROUGH THIRTY-FIVE
18 U.S.C. §§ 1952(a)(3) and 2

Travel Act

1, Paragraphs | through 14, 23 through 28, and 61 through 96 of Count

One are realleged and incorporated as if fully set forth herein.

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2. On or about the dates set forth below, in the Northern District of

Florida and elsewhere, the defendants,
SCOTT CHARLES MADDOX
and
JANICE PAIGE CARTER-SMITH,
knowingly and willfully did use, and cause to be used, a facility in interstate and
foreign commerce with the intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of an
unlawful activity, namely bribery, contrary to Florida Statute Section 838.015, and
thereafter performed and attempted to perform an act to promote, manage,

establish, and carry on, and to facilitate the promotion, management,

establishment, and carrying on of such unlawful activity.

 

 

 

COUNT DATE FACILITY | DESCRIPTION
TWENTY-SEVEN | January 14,2014 | Internet E-mail from
MADDOX to

CARTER-SMITH
and representatives of
Company C

 

TWENTY-EIGHT | February 10, 2014 | Internet E-mail from
MADDOX to
representative of
Company C and
CARTER-SMITH

 

TWENTY-NINE March 25, 2015 Cell Phone | Text message from
CARTER-SMITH to
Person A

 

 

 

 

 

 

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THIRTY

July 8, 2015

Cell Phone

Text message from
CARTER-SMITH to
Person A

 

THIRTY-ONE

October 16, 2015

Cell Phone

Text message from
MADDOX to Person
D

 

THIRTY-TWO

March 4, 2016

Cell Phone

Text message from
MADDOX to Person
D

 

THIRTY-THREE

December 14, 2016

Cell Phone

Text message from
MADDOX to Person
C

 

THIRTY-FOUR

January 25, 2017

Cell Phone

Text message from
MADDOX < to Person
D

 

THIRTY-FIVE

 

 

March 13,

3017

 

Internet

 

E-mail from
MADDOX to Person D

 

In violation of Title 18, United States Code, Sections 1952(a)(3) and 2.

COUNTS THIRTY-SIX THROUGH THIRTY-SEVEN

18 U.S.C. §§ 1952(a)(3) and 2

Travel Act

1. Paragraphs 1 through 17, 23 through 28, and 103 through 119 are

realleged and incorporated as if fully set forth herein.

2. On or about the dates set forth below, in the Northern District

of Florida and elsewhere, the defendant,

JOHN THOMAS BURNETTE,

knowingly and willfully did use, and cause to be used, a facility in interstate and

foreign commerce with the intent to promote, manage, establish, carry on, and

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facilitate the promotion, management, establishment, and carrying on of an

unlawful activity, namely bribery, contrary to Florida Statute Section 838.015, and

thereafter performed and attempted to perform an act to promote, manage,

establish, and carry on, and to facilitate the promotion, management,

establishment, and carrying on of such unlawful activity.

 

COUNT

DATE

FACILITY

DESCRIPTION

 

THIRTY-SIX

October 19, 2016

Cell Phone

Call from
representative of
Company F to
BURNETTE

 

THIRTY-SEVEN

 

 

October 24, 2016

 

Cell Phone

 

Call from
representative of
Company F to
BURNETTE

 

In violation of Title 18, United States Code, Sections 1952(a)(3) and 2.

COUNT THIRTY-EIGHT
False Statements
18 U.S.C. § 1001(a)(2)

On or about May 24, 2017, in the Northern District of Florida and

elsewhere, the defendant,

SCOTT CHARLES MADDOX,

did knowingly and willfully make materially false, fictitious, and fraudulent

statements and representations in a matter within the executive branch of the

Government of the United States, that is, the defendant falsely stated that:

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a. MADDOX had no connection to Governance;
b. the individuals associated with Company F never attempted to
pay MADDOX any money;

C. Company F representatives did not give MADDOX any gifts;
and
d. MADDOX had not known about how Company F found

Carter-Smith until May 24, 2017.

These statements and representations were false because, as MADDOX then

well knew:

a. MADDOX controlled Governance’s finances, operations, and

client relationships;

b. the individuals associated with Company F did attempt to pay
MADDOX;

C. the individuals associated with Company F paid for
MADDOX’s flight to Las Vegas, and his hotel stay and meals in Las Vegas;

and

d. MADDOX himself instructed Company F to hire Governance.

In violation of Title 18, United States Code, Section 1001(a)(2).

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COUNT THIRTY-NINE
False Statements
18 U.S.C. § 1001(a)(2)
On or about May 24, 2017, in the Northern District of Florida, the defendant,
JANICE PAIGE CARTER-SMITH,

did knowingly and willfully make a materially false, fictitious, and fraudulent
statement and representation in a matter within the executive branch of the
Government of the United States, that is, the defendant falsely stated that she was
the only person associated with Governance. This statement and representation
was false because, as CARTER-SMITH then well knew, Maddox was involved in
and exerted control over Governance’s finances, operations, and client

relationships.

In violation of Title 18, United States Code, Section 1001(a)(2).
COUNT FORTY
False Statements
18 U.S.C. § 1001(a)(2)
On or about May 24, 2017, in the Northern District of Florida and
elsewhere, the defendant,
JOHN THOMAS BURNETTE,
did knowingly and willfully make materially false, fictitious, and fraudulent

statements and representations in a matter within the executive branch of the

Government of the United States, that is, the defendant falsely stated that:
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a. He did not know who the Company F representatives
wrote checks to;
b. He did not know the name of Carter-Smith’s firm;
C. He did not know who Company F had retained;
d. He did not know the content of conversations that Company F
representatives had with Maddox; and
e, He did not know that Company F representatives had paid
Maddox.
These statements and representations were false because, as BURNETTE
then well knew:
a. BURNETTE knew that Company F representatives
wrote checks to Governance;
b. BURNETTE did know the name of Carter-Smith’s firm was
Governance;
C. BURNETTE did know that Company F had retained
Governance, as directed by BURNETTE and Maddox;
d. BURNETTE did know the content of conversations that

Company F representatives had with Maddox; and

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e. BURNETTE did know that Company F representatives had
paid—and indeed, he directed them to pay— Maddox, through Maddox and
Carter-Smith’s firm, Governance.

In violation of Title 18, United States Code, Section 1001(a)(2).

COUNT FORTY-ONE
Conspiracy to Defraud the United States
18 U.S.C. § 371
I. Introduction

1. Paragraphs 1 through 14, 23 through 30, 31, and 40 of Count One of
this Indictment are realleged and incorporated as though fully set forth herein.

2. At all times relevant to this Indictment, the Internal Revenue Service
(“IRS”) was an agency of the United States Department of Treasury responsible
for administering the internal revenue laws of the United States.

II. The Charge
3. Between in or about 2011 and on or about August 21, 2017, in the
Northern District of Florida and elsewhere, the defendants,
SCOTT CHARLES MADDOX
JANICE PAIGE CARTER-SMITH,
did knowingly and willfully conspire, combine, confederate, and agree together

and with other persons to defraud the United States for the purpose of impeding,

impairing, obstructing, and defeating the lawful Government functions of the
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Internal Revenue Service of the Treasury Department in the ascertainment,
computation, assessment, and collection of the revenue: to wit, income taxes.
III. Manner and Means

The manner and means by which the conspiracy was carried out included the

following, among others:

4, MADDOX and CARTER-SMITH, using deceit and dishonest
means, presented false books and records to an accountant for use in preparing the
corporate income tax returns of Governance and Gov. Services for the calendar
years 2012 through 2016.

5. MADDOX and CARTER-SMITH secretly sold Governance from
MADDOX to CARTER-SMITH and failed to advise bookkeepers and
accountants of the sale of Governance resulting in false documents and records
being maintained for Governance and Gov. Services so as to conceal from the
Internal Revenue Service CARTER-SMITH’s ownership and interest in
Governance.

6. MADDOX and CARTER-SMITH failed to disclose to their
accountants the existence of a $475,000 interest-only promissory note payable to
MADDOX by CARTER-SMITH, resulting in defendant MADDOX failing to
report to the IRS interest income totaling approximately $108,418 on MADDOX’s

2011 through 2016 tax returns.
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7. MADDOX provided his accountants with false Arms-Length
Affidavits in connection with two short-sale property transactions between the
defendants occurring in 2011 and 2012. The false affidavits caused the
accountants to classify the transactions as third party sales and report false losses
of $307,539 and $267,520 on MADDOX’s 2011 and 2012 tax returns,
respectively.

8. MADDOX carried these claimed false losses described in the
preceding paragraph as net operating losses, which MADDOX carried forward on
his 2013 through 2016 tax returns.

9. MADDOX provided his accountants with a summary of
expenses associated with his Schedule C business, Maddox Law Firm. The
summary falsely included $12,000 of rent expense paid by MADDOX to
CARTER-SMITH for 510 N. Adams, MADDOX’s personal residence. This
schedule caused the accountants to falsely report the personal expense on
MADDOX’s 2013 Schedule C.

IV. Overt Acts

In furtherance of the conspiracy, and to effect the objects thereof, the

following overt acts, among others, were committed in the Northern District of

Florida, and elsewhere:

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10. On or about March 12, 2010, MADDOX signed a contract selling
Governance to CARTER-SMITH. In or about April 2010, CARTER-SMITH
became the president and registered agent of Governance.

11. On or about August 22, 2011, SCM Investments, LLC and
MADDOX sold 208 W. Carolina to Governance Services LLC via a short sale.
This transaction was not a valid short sale because MADDOX and CARTER-
SMITH were not “unrelated parties.” MADDOX obtained most of the funding for
CARTER-SMITH to purchase the property from a Governance client and
MADDOX’s family members.

12. Onor about August 9, 2012, MADDOX filed a 2011 tax return that
falsely claimed a business property loss of $307,539 due to the short sale of 208
W. Carolina, and falsely reported income earned by Governance on Schedule E of
his Form 1040.

13. On or about September 14, 2012, MADDOX filed, or caused to be
filed, a 2011 Form 1120S for Governance, which he falsely signed as president and
sole shareholder of the company.

14. Onor about October 1, 2012, CARTER-SMITH filed, or caused to

be filed, a false 2011 Form 1040.

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15. On or about December 14, 2012, MAL sold 510 N. Adams to Gov.
Services via a short sale, which was not a valid short sale because CARTER-
SMITH was the owner of both MAL and Gov. Services.

16. Onor about July 1, 2013, MADDOX filed, or caused to be filed, a
false 2012 Form 1120S for Governance Inc., which he falsely signed as president
and sole shareholder of the company.

17. Onor about July 2, 2013, MADDOX filed, or caused to be filed, a
false 2012 Form 1040 that falsely claimed business property loss of $267,520 and
falsely reported income earned by Governance on Schedule E.

18. On or about October 16, 2013, CARTER-SMITH filed, or caused to
be filed, a false 2012 Form 1040. The Form 1040 was false in that it failed to
report pass through income earned from Governance on Schedule E.

19. Between on or about September 29, 2014, and on or about August 21,
2017, MADDOX filed, or caused to be filed, false Form 1040s for tax years 2013
through 2016 that falsely reported net operating losses ranging from $126,000 to
$273,000 from fraudulent property short-sales.

20. On or about July 9, 2014, during a sworn interview by a Florida
Commission on Ethics investigator, CARTER-SMITH lied about the financial
status of Governance when she purchased the company, falsely stating, “it had

incurred some losses the years before.”
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21. Between 2015 and 2017, MADDOX used Governance credit cards in
the names of other individuals but did not declare this income received from
Governance on his Forms 1040 filed with the IRS during this time.

22. Between 2011 and 2014, MADDOX lied to his bookkeeper regarding
the timing and sale of Governance.

All in violation of Title 18, United States Code, Section 371.
COUNT FORTY-TWO
Making False Statements on a Tax Return
26 U.S.C. § 7206(1)

On or about July 2, 2013, in the Northern District of Florida and elsewhere,

the defendant,

SCOTT CHARLES MADDOX,
a resident of Tallahassee, Florida, did willfully make and subscribe a United States
Individual Income Tax Return, Form 1040, for the calendar year 2012, which
contained and was verified by a written declaration that it was made under the
penalties of perjury, and which the defendant did not believe to be true and correct
as to every material matter. That return, which was filed with the Internal Revenue
Service, was false in that the return represented a loss on line 14 of $267,520 from
the sale of property owned by Governance, falsely listed $92,609 of Governance

income on Schedule E line 28c, falsely listed $3,372 of Governance rental income

on Schedule E line 28d, and failed to list on line 8a interest income of $23,976,
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when, in truth and fact and as the defendant then well knew, he had sold
Governance to CARTER-SMITH more than three years earlier, had no legal
interest in Governance, could not deduct any losses from Governance, and he
could not report Governance’s income on his Form 1040 because he had no legal
interest in the business. The Form 1040 filed by MADDOX was also false in that
he failed to report $23,976 in interest income that he had received from CARTER-
SMITH during the 2012 tax year.

In violation of Title 26, United States Code, Section 7206(1).

COUNT FORTY-THREE
Making False Statements on a Tax Return
26 U.S.C. § 7206(1)

On or about September 29, 2014, in the Northern District of Florida and

elsewhere, the defendant,
SCOTT CHARLES MADDOX,

a resident of Tallahassee, Florida, did willfully make and subscribe a United States
Individual Income Tax Return, Form 1040, for the calendar year 2013, which
contained and was verified by a written declaration that it was made under the
penalties of perjury, and which the defendant did not believe to be true and correct
as to every material matter. That return, which was filed with the Internal Revenue

Service, was false in that the return represented a net operating loss on line 21 of

$273,761, failed to list on line 8a interest income of $17,950, and falsely listed on
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line 20b on Schedule C $12,000 of personal rent (which reduced Business Income
the same on line 12), when in truth and fact and as the defendant then well knew,
he had sold Governance to CARTER-SMITH more than three years earlier, had
no legal interest in Governance, could not deduct any losses from Governance, and
he was not entitled to a net operating loss from Governance because he had no
legal interest in the business. The Form 1040 filed by MADDOX was also false in
that the defendant failed to report $17,950 in interest income that he had received
from CARTER-SMITH during the 2013 tax year, and the defendant was not
entitled to deduct personal rent expense on his return.

In violation of Title 26, United States Code, Section 7206(1).

COUNT FORTY-FOUR
Making False Statements on a Tax Return
26 U.S.C. § 7206(1)

On or about October 19, 2015, in the Northern District of Florida and

elsewhere, the defendant,
SCOTT CHARLES MADDOX,

a resident of Tallahassee, Florida, did willfully make and subscribe a United States
Individual Income Tax Return, Form 1040, for the calendar year 2014, which
contained and was verified by a written declaration that it was made under the

penalties of perjury, and which the defendant did not believe to be true and correct

as to every material matter. That return, which was filed with the Internal Revenue
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Service, was false in that the return represented a net operating loss on line 21 of
$252,733 and failed to list on line 8a interest income of $17,097, when in truth and
fact and as the defendant then well knew, he had sold Governance to CARTER-
SMITH more than four years earlier, had no legal interest in Governance, could
not deduct any losses from Governance because he had no interest in the business,
and he was not entitled to a net operating loss. The Form 1040 filed by MADDOX
was also false in that he failed to report $17,097 in interest income that he had
received from CARTER-SMITH during the 2014 tax year.

In violation of Title 26, United States Code, Section 7206(1).

COUNT FORTY-FIVE
Making False Statements on a Tax Return
26 U.S.C. § 7206(1)

On or about October 20, 2016, in the Northern District of Florida and

elsewhere, the defendant,
SCOTT CHARLES MADDOX,

a resident of Tallahassee, Florida, did willfully make and subscribe a United States
Individual Income Tax Return, Form 1040, for the calendar year 2015, which
contained and was verified by a written declaration that it was made under the
penalties of perjury, and which the defendant did not believe to be true and correct

as to every material matter. That return, which was filed with the Internal Revenue

Service, was false in that the return included in line 21 a net operating loss of
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$197,184 and failed to list in line 8a interest income of $13,485, when in truth and
fact and as the defendant then well knew, he had sold Governance to CARTER-
SMITH more than five years earlier, had no legal interest in Governance, could
not deduct any losses from Governance because he had no legal interest in the
business, and he was not entitled to a net operating loss. The Form 1040 filed by
MADDOX was also false in that he failed to report $13,485 in interest income that
he received had from CARTER-SMITH during the 2015 tax year.

In violation of Title 26, United States Code, Section 7206(1).

COUNT FORTY-SIX
Making False Statements on a Tax Return
26 U.S.C. § 7206(1)

On or about August 21, 2017, in the Northern District of Florida and

elsewhere, the defendant,
SCOTT CHARLES MADDOX,

a resident of Tallahassee, Florida, did willfully make and subscribe a United States
Individual Income Tax Return, Form 1040, for the calendar year 2016, which
contained and was verified by a written declaration that it was made under the
penalties of perjury, and which the defendant did not believe to be true and correct
as to every material matter. That return, which was filed with the Internal Revenue

Service, was false in that the return represented a net operating loss on line 21 of

$126,805 and failed to list on line 8a interest income of $12,749, when, in truth and
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fact and as the defendant then well knew, he had sold Governance to CARTER-
SMITH more than six years earlier, had no legal interest in Governance, could not
deduct any losses from Governance, and he was not entitled to a net operating loss.
The Form 1040 filed by MADDOX was also false in that he failed to report
$12,749 in interest income that he had received from CARTER-SMITH during
the 2016 tax year.

In violation of Title 26, United States Code, Section 7206(1).

COUNT FORTY-SEVEN
Making False Statements on a Tax Return
26 U.S.C. § 7206(1)

On or about October 16, 2013, in the Northern District of Florida and

elsewhere, the defendant,
JANICE PAIGE CARTER-SMITH,

a resident of Tallahassee, Florida, did willfully make and subscribe a United States
Individual Income Tax Return, Form 1040, for the calendar year 2012, which
contained and was verified by a written declaration that it was made under the
penalties of perjury, and which the defendant did not believe to be true and correct
as to every material matter. That return, which was filed with the Internal Revenue
Service, was false in that the return falsely represented total Schedule E income on

line 17 of only $53,398 from The Big Productions, Inc., and omitted approximately

$95,981 in income from Governance.
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In violation of Title 26, United States Code, Section 7206(1).
RACKETEERING FORFEITURE

The allegations contained in Count One of this Indictment are hereby
realleged and incorporated herein by reference for the purpose of alleging
forfeiture pursuant to the provisions of Title 18, United States Code, Section
1963, and Title 28, United States Code, Section 2461(c). Upon conviction
of the offense charged in Count One of this Indictment, the defendants,

SCOTT CHARLES MADDOX,
JANICE PAIGE CARTER-SMITH,
JOHN THOMAS BURNETTE,
shall forfeit to the United States of America,

a. Any interest acquired or maintained in violation of section 1962,
which interests are subject to forfeiture to the United States pursuant to Title 18,
United States Code, Section 1963(a)(1);

b. Any interest in, security of, claim against, or property or contractual
right of any kind affording a source of influence over, any enterprise which the
defendant[s] established, operated, controlled, conducted, or participated in the
conduct of, in violation of section 1962, which interests, securities, claims, and

rights are subject to forfeiture to the United States pursuant to Title 18, United

States Code, Section 1963(a)(2); and

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C. Any property constituting, or derived from, any proceeds obtained,
directly or indirectly, from racketeering activity in violation of section 1962, which
property is subject to forfeiture to the United States pursuant to Title 18, United
States Code, Section 1963(a)(3).

d. The property to be forfeited pursuant to Title 18, United States
Code, Section 1963(a)(1), (a)(2), and (a)(3), includes, but is not limited to,
the following:

1, Real Property located at 502 North Adams Street, Tallahassee,
Florida, with all appurtenances, improvements, and attachments
thereon; and

2. Real Property located at 209 West Georgia Street, Tallahassee,
Florida (Parcel # 2136402494140); 522 North Adams Street,
Tallahassee, Florida; 208 West Carolina Street, Tallahassee,
Florida; and 510 North Adams Street, Tallahassee, Florida;
with all appurtenances, improvements, and attachments thereon.

If any of the property subject to forfeiture pursuant to Title 18, United
States Code Section 1963(a)(1), (2), and (3), as a result of any act or
omission of the defendants:

d. cannot be located upon the exercise of due diligence;

e. has been transferred or sold to, or deposited with, a third party;
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f. has been placed beyond the jurisdiction of the court;
g. has been substantially diminished in value; or
h. has been comingled with other property which cannot be
divided without difficulty,
the United States of America shall be entitled to forfeiture of substitute property,
pursuant to Title 18, United States Code Section 1963(m).
CRIMINAL FORFEITURE
The allegations contained in Counts Two through Thirty-Seven of this
Indictment are hereby realleged and incorporated by reference for the purpose of
alleging forfeiture. From their engagement in the violations alleged in Counts Two
through Thirty-Seven of this Indictment, the defendants,
SCOTT CHARLES MADDOX,
JANICE PAIGE CARTER-SMITH,
JOHN THOMAS BURNETTE,
shall forfeit to the United States, pursuant to Title 18, United States Code, Sections
981(a)(1)(C) and 982(a)(2), and Title 28, United States Code, Section 2461(c), any
and all of the defendants’ right, title, and interest in any property, real and

personal, constituting, and derived from, proceeds, obtained directly and indirectly,

traceable to such offenses.

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If any of the property described above as being subject to forfeiture, as a
result of acts or omissions of the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred, sold to, or deposited with a third party;
C. has been placed beyond the jurisdiction of this Court;
d. has been substantially diminished in value; or
e, has been commingled with other property that cannot be
subdivided without difficulty,
it is the intent of the United States, pursuant to Title 21, United States Code,
Section 853(p), as incorporated by Title 18, United States Code, Sections 982, and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other

property of said defendants up to the value of the forfeitable property.

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A TRUE BILL:

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DATE
pf Lyp~

LAWRENCE KEBFE

United States Attorney

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STEPHEN M. KUNZ7

en United States Attorney

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NDREW J. GROGAN
Assistant NDREN | Gh States Attorney

 

 

ANNALOU TIROL

Acting Chief, Public Integrity Section
Criminal Division

U.S. Department of Justice

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SIMON UC CATALDO

  

 

~RETER M. NOTHSTEIN
Trial Attorney
U.S. Department of Justice

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FROSKATEEN T.°GARA

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